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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:94-cr-01009-MP-AK

ALBERT THOMAS MADRID,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 972, Motion to Vacate under 28 U.S.C. § 2255,

by Albert Thomas Madrid. Defendant is represented by counsel, who has served the motion on

counsel for the Government.

         Pursuant to the Rules Governing § 2255 Proceedings, the Court has reviewed the

motion, and the Government will be required to file an answer or other appropriate response. If

appropriate, the Government shall include the initial brief or other briefs from the direct appeal

and may rely on the statement of facts presented there. Defendant may respond to the

Government's arguments within the time set by this order, but he is not required to do so.

       Upon receipt of the Government's arguments and Defendant's response, if any, the Court

will review the file to determine whether an evidentiary hearing is required. If an evidentiary

hearing is not required, the Court will dispose of the petition as justice requires pursuant to §

2255 Rule 8(a).

       The Government should also address the issues raised by Madrid’s Notice of Joinder,

including whether they are properly before the Court for consideration. Doc. 992.
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        Accordingly, it is ORDERED:

        1. The clerk shall furnish, by certified mail return receipt requested, a copy of this order

to the United States Attorney for this district, who shall file an answer or other appropriate

pleading by September 12, 2005.

        2. If review of the PSR is necessary, the Probation Office shall allow counsel for the

Government to review the PSR upon request.

        3. Defendant shall have until October 12, 2005, to file a response, if desired..

         DONE AND ORDERED this 15th             day of July, 2005.


                                       s/ A. KORNBLUM
                                       ALLAN KORNBLUM
                                       UNITED STATES MAGISTRATE JUDGE




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